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UNITED STATES COURT OF APPEALS
FOR THE SECOND CIRCUIT
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UNITED STATES OF AMERICA,                                   Docket No. 15-1815

                                   Appellee,                DECLARATION IN SUPPORT OF
                                                            ROSS ULBRICHT’S MOTION
                          - against -                       FOR AN EXTENSION OF TIME
                                                            IN WHICH TO FILE HIS
ROSS WILLIAM ULBRICHT,                                      REPLY BRIEF ON APPEAL

                                   Appellant.

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STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

        JOSHUA L. DRATEL, pursuant to 28 U.S.C. §1746, hereby declares under penalty of

perjury:

        1. I am an attorney and represent Defendant-Appellant Ross Ulbricht in his appeal from

his conviction and sentence in Docket No. 15-1815 [14 Cr. 68 (KBF) in the District Court]. I

make this declaration in support of Mr. Ulbricht’s motion for a four-week extension of time until

August 1, 2016, in which to file his Reply Brief. See 2d Cir. Local Rule 27 (f)(1). I have been in

contact with Assistant United States Attorney Eun Young Choi, who has informed me that the

government does not oppose this request.

        2. Mr. Ulbricht was tried in January-February 2015, and the jury returned a verdict of

guilty February 4, 2015. Sentencing occurred May 29, 2015, and judgment was entered June 1,

2015. Mr. Ulbricht was sentenced to life imprisonment without parole.

        3. Presently, Mr. Ulbricht’s Reply Brief is due Friday, July 1, 2016. This is Mr.


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Ulbricht’s first motion for an extension for the Reply Brief. Mr. Ulbricht made one previous

request for an extension of time to file his Opening Brief and Appendix, which this Court granted

December 2, 2015. For the reasons detailed below, it is respectfully submitted that the requested

extension is appropriate to enable counsel to prepare the Reply Brief on Mr. Ulbricht’s behalf in

this complex and detailed case that included substantial pretrial motions, a four-week trial, and a

sentence that resulted in a term of life imprisonment.

       4. The extension is requested in order to permit counsel to prepare the Reply Brief on

Mr. Ulbricht’s behalf fully and effectively. The reasons are as follows:

       (a)     in response to Appellant’s Opening Brief, the government requested (and

               received) an extension of time to file its Brief as well as permission to file an

               oversized brief. The government then filed a 159-page brief (37,016 words) and a

               233-page supplemental appendix last Friday, June 17, 2016. In that regard, the

               government’s Brief exceeds the length of the Appellant’s 140-page (30,182

               words) Brief. The government also requested the unsealing of various documents

               related to the case just prior to the filing of their Brief. In order to respond to the

               government’s Brief, the Appellant will also likely first have to request the

               unsealing of still additional documents and will also have to supplement the

               Record on Appeal. Thus, the review and preparation of the Reply Brief in the

               context of such considerable briefing and additional elements of the record merits

               additional time to compose the Reply Brief;

       (b)     during this same period, I have the following pre-existing commitments: (a) a

               Brief on Appeal in United States v. Chambers, Docket 16-163 (a case I tried in the


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               Southern District of New York) due July 22, 2016; and (b) a Reply Brief in the

               Ninth Circuit in United States v. Moalin, Docket 13-50572, a case involving the

               only criminal prosecution based on the National Security Agency’s bulk telephony

               metadata collection program (and in which the government’s Brief was 24,556

               words), due August 15, 2016;

       (c)     the July 4th holiday, as well as previously scheduled staff and associate vacations,

               will intervene during the period requested, necessitating the four additional weeks

               sought; and

       (d)     my associate, Lindsay A. Lewis, Esq., who tried this case with me and is

               participating in writing the reply brief, last week suffered an extraordinary and

               unanticipated medical issue – a tear in her medial gastrocnemius muscle – which

               has impeded her ability to walk and required her to seek medical attention and to

               utilize crutches. She must go for a follow-up visit to the doctor in another week

               or so, and her injury will necessitate bi-weekly physical therapy appointments for

               the next four to six weeks;

       5. Accordingly, it is respectfully requested that counsel be afforded the additional time to

prepare a Reply Brief that addresses the government’s oversize Brief, and to do so in the most

effective and concise manner possible.1

       6. As set forth ante at ¶ 1, AUSA Eun Young Choi has informed counsel that the

government does not object to this motion.


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           While credited to so many different people that it defies confident attribution, the
saying, “I would have written a shorter letter if I had more time,” is nevertheless applicable to
this situation.

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       WHEREFORE, it is respectfully requested that the Court grant this application in its

entirety, and grant an extension of time until August 1, 2016, to file Appellant’s Reply Brief on

Appeal and for any other such relief as this Court deems just and proper.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief. 28 U.S.C. §1746. June 23, 2016.



                                                       /s/ Joshua L. Dratel
                                                     JOSHUA L. DRATEL




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